   This opinion is subject to revision before publication.




      UNITED STATES COURT OF APPEALS
               FOR THE ARMED FORCES
                     _______________

                   UNITED STATES
                       Appellee

                             v.

Thomas L. WHEELER, Master-at-Arms Third Class
          United States Navy, Appellant

                     No. 23-0140
               Crim. App. No. 202100091

 Argued December 19, 2023—Decided August 22, 2024

           Military Judge: Kimberly J. Kelly

 For Appellant: Lieutenant Commander Megan P.
 Marinos, JAGC, USN (argued); Major Jasper Casey,
 USMC.

 For Appellee: Colonel Joseph M. Jennings, USMC
 (argued); Captain Tyler W. Blair, USMC, and Brian
 K. Keller, Esq. (on brief).

 Judge JOHNSON delivered the opinion of the Court,
 in which Chief Judge OHLSON, Judge SPARKS,
 Judge MAGGS, and Judge HARDY joined.
                 _______________
          United States v. Wheeler, No. 23-0140/NA
                    Opinion of the Court


   Judge JOHNSON delivered the opinion of the Court.
    This case involves a charge of sleeping on post that was
referred to a military judge-alone special court-martial.
Had the convening authority referred this case to a general
court-martial, Appellant would have been entitled to trial
before a panel of members, Article 16(b)(1), Uniform Code
of Military Justice (UCMJ), 10 U.S.C. § 816(b)(1) (2018),
and the maximum punishment would have included a
dishonorable discharge, forfeiture of all pay and
allowances, and one year of confinement. Manual for
Courts-Martial, United States pt. IV, para. 22.d.(1)(c) (2019
ed.) (MCM). Instead, the convening authority referred the
charge to a special court-martial before a military judge
alone pursuant to Article 16(c)(2)(A), UCMJ, 10 U.S.C. §
816(c)(2)(A) (2018). As a result, Appellant could not elect
trial by a panel of members and the military judge was
barred from adjudging a sentence that included a punitive
discharge, confinement for more than six months, Article
19(b), UCMJ, 10 U.S.C. § 819(b) (2018), or forfeitures of pay
for more than six months. Rule for Courts-Martial
(R.C.M.) 201(f)(2)(B)(ii) (2019 ed.).
    We hold that Appellant had no Fifth Amendment due
process right to a court-martial consisting of a panel of
members in a forum that statutorily limited the maximum
possible sentence to six months of confinement with no pu-
nitive discharge authorized. Additionally, we hold that the
convening authority’s referral of this case to a military
judge-alone special court-martial did not violate Fifth
Amendment due process. We therefore affirm the decision
of the United States Navy-Marine Corps Court of Criminal
Appeals (NMCCA).
                      I. Background
   Appellant was charged with one specification of sleep-
ing on post in violation of Article 95, UCMJ, 10 U.S.C. § 895(2018), after he was discovered asleep at his post as senti-
nel onboard a harbor patrol boat at Naval Station Everett,
Washington. The convening authority referred the charge




                             2
           United States v. Wheeler, No. 23-0140/NA
                     Opinion of the Court


under Article 16(c)(2)(A), UCMJ, to a special court-martial
before a military judge alone.
    Before trial, Appellant filed a motion to dismiss, argu-
ing that sleeping on post is a “ ‘serious’ offense” which im-
plicated his Fifth and Sixth Amendment rights to trial by
a panel of members, and therefore, the military judge-alone
special court-martial lacked jurisdiction absent Appellant’s
knowing and voluntary election of a military judge-alone
forum. The military judge denied the motion, concluding
that the military judge-alone special court-martial
“whether on its face or as applied in this case is consistent
with due process.”
    Contrary to his pleas, Appellant was convicted of sleep-
ing on post in violation of Article 95, UCMJ, and sentenced
to fifteen days of confinement. 1 In an en banc published
opinion, the NMCCA affirmed the findings and sentence.
United States v. Wheeler, 83 M.J. 581, 592 (N-M. Ct. Crim.
App. 2023) (en banc).
   We granted review to consider two issues:
       I. Did the lower court err in holding that the Due
       Process Clause of the Fifth Amendment does not
       protect a servicemember’s fundamental right to a
       panel of members at court-martial?
       II. Did the lower court err by deferring to a con-
       vening authority’s case-by-case referral decision
       rather than an objective standard to determine
       whether an offense is serious?

   1 The convening authority suspended confinement in excess
of seven days for six months from the entry of judgment, to be
remitted at that time without further action unless vacated
sooner. A judge advocate reviewed the record pursuant to Article
65(d), UCMJ, 10 U.S.C. § 865(d) (2018), and did not recommend
any corrective action. Upon Appellant’s application for relief
pursuant to Article 69, UCMJ, 10 U.S.C. § 869 (2018), the Judge
Advocate General of the Navy forwarded the record to the
NMCCA, recommending review of the question whether Appel-
lant’s Fifth and Sixth Amendment rights were violated by the
convening authority’s referral of the charge to a forum offering
no right to a panel verdict.




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          United States v. Wheeler, No. 23-0140/NA
                    Opinion of the Court


United States v. Wheeler, 83 M.J. 393 (C.A.A.F. 2023) (or-
der granting review). For the reasons set forth below, we
answer both questions in the negative and affirm the deci-
sion of the NMCCA.
                  II. Standard of Review
   The constitutionality of a statute is a question of law
reviewed de novo. United States v. Begani, 81 M.J. 273, 280
(C.A.A.F. 2021).
                      III. Discussion
   A. The Military Judge-Alone Special Court-Martial
    In 2016, Congress amended Articles 16 and 19, UCMJ,
to create a new kind of special court-martial by military
judge alone. National Defense Authorization Act for Fiscal
Year 2017, Pub. L. No. 114-328, § 5161, 130 Stat. 2000,
2898 (2016). As amended, Article 16, UCMJ, allows a con-
vening authority to refer a case to a special court-martial
consisting of a military judge alone, subject to the re-
strictions found in Article 19, UCMJ, and “such limitations
as the President may prescribe by regulation.” Article
16(c)(2)(A), UCMJ. Article 19(b), UCMJ, as amended,
states, “Neither a bad-conduct discharge, nor confinement
for more than six months . . . may be adjudged if charges
and specifications are referred to a special court-martial
consisting of a military judge alone.” Article 19(b), UCMJ.
    Before these changes were enacted, a case referred to a
special court-martial could be tried by military judge alone
only upon the request of the accused. Article 16(2)(C),
UCMJ, 10 U.S.C. § 816(2)(C) (2012). However, in 2015 the
Military Justice Review Group (MJRG) recommended giv-
ing the convening authority discretionary authority to re-
fer a case to a military judge-alone special court-martial,
subject to limitations on the military judge’s authority to
adjudge confinement, forfeitures, and a punitive discharge,
and subject to further limitations to be prescribed by the
President. Office of the General Counsel, Dep’t of Defense,
Report of the Military Justice Review Group 217 (Dec. 22,
2015) [hereinafter the MJRG Report]. The proposed
changes were designed to “offer military commanders a




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          United States v. Wheeler, No. 23-0140/NA
                    Opinion of the Court


new disposition option for low-level criminal misconduct—
one that would be more efficient and less burdensome on
the command than a special court-martial, but without the
option for the member to refuse as in summary courts-mar-
tial and non-judicial punishment.” Id. at 222. The MJRG’s
recommendations drew “upon the successful experience of
the military justice system with judge-alone trials since
1968” and “upon the experience in the federal civilian sys-
tem, as well as in state courts, in which an accused defend-
ant does not have the right to trial by jury when the con-
finement does not exceed six months.” Id. at 221.
    Congress adopted the MJRG’s recommendations,
amending Articles 16 and 19 “to improv[e] the efficiency of
the military justice system.” H.R. Rep. No. 114-537, at 600
(2016). The President then promulgated rules to imple-
ment these changes. R.C.M. 201(f)(2)(B)(ii) states, “A bad-
conduct discharge, confinement for more than six months,
or forfeiture of pay for more than six months, may not be
adjudged by a special court-martial when the case is re-
ferred as a special court-martial consisting of a military
judge alone under Article 16(c)(2)(A).” R.C.M. 201(f)(2)(E)
(2019 ed.) bars military judge-alone special court-martial
jurisdiction if the accused objects before arraignment and
the military judge determines that (I) the maximum au-
thorized confinement would be greater than two years if
the case was tried by a general court-martial (with excep-
tions not applicable here) or (II) sex offender registration
would be required.
  B. Fifth Amendment Due Process in Courts-Martial
   The first granted issue asks whether the lower court
erred in holding that there is no Fifth Amendment due pro-
cess right to a panel of members at courts-martial. Appel-
lant contends that the Sixth Amendment guarantee of an
impartial jury for all criminal prosecutions of serious of-
fenses is a “bedrock procedural right” protected by the Due
Process Clause of the Fifth Amendment. 2 He argues that

   2 Although Appellant asserted a Sixth Amendment violation

before the lower court, at oral argument he conceded that his




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           United States v. Wheeler, No. 23-0140/NA
                     Opinion of the Court


he was entitled to trial before a panel of members because
he was charged with a serious offense—that is, one with a
maximum sentence to confinement of one year.
    The NMCCA recognized that servicemembers histori-
cally enjoyed a right to a panel of members at special
courts-martial, due in part to the fact that military judges
did not exist until they were created by Congress in 1968.
Wheeler, 83 M.J. at 587. But citing Congress’s authority to
make changes to the UCMJ and to delegate to the Presi-
dent the power to promulgate rules to implement Con-
gress’s legislative changes, the court found “no case law
holding that historical practice created a fundamental
right that precluded” the new military judge-alone special
court-martial. Id. We conclude that the NMCCA did not
err.
    The Fifth Amendment to the Constitution provides, in
part, that “[n]o person shall be . . . deprived of life, liberty,
or property, without due process of law.” U.S. Const.
amend. V. Because servicemembers who are subject to ap-
pear before a court-martial “may be subjected to loss of lib-
erty or property,” they “are entitled to the due process of
law guaranteed by the Fifth Amendment. Whether this
process embodies” a specific right—in this case, a right to
be tried by a panel of members—“depends upon an analysis
of the interests of the individual and those of the regime to
which he is subject.” Middendorf, 425 U.S. at 43; see United
States v. Graf, 35 M.J. 450, 461 (C.M.A 1992) (recognizing
that the Due Process Clause of the Fifth Amendment ap-
plies to servicemembers at special courts-martial). A pro-
cedure does not violate the Due Process Clause of the Fifth
Amendment unless “ ‘it offends some principle of justice so

appeal was based solely on a Fifth Amendment due process vio-
lation. Wheeler, 83 M.J. at 584-85. He did not assert a Sixth
Amendment violation before this Court. Therefore, we do not ad-
dress the applicability of the Sixth Amendment jury clause to
this case. But see United States v. Anderson, 83 M.J. 291, 294-95
(C.A.A.F. 2023) (“[T]he Supreme Court has repeatedly stated
that the Sixth Amendment right to a jury does not apply to
courts-martial.” (citing cases dating to 1866)).




                               6
          United States v. Wheeler, No. 23-0140/NA
                    Opinion of the Court


rooted in the traditions and conscience of our people as to
be ranked as fundamental.’ ” Graf, 35 M.J. at 462 (empha-
sis removed) (quoting Patterson v. New York, 432 U.S. 197,
202 (1977)).
    “Congress has primary responsibility for the delicate
task of balancing the rights of servicemen against the
needs of the military,” Solorio v. United States, 483 U.S.
435, 447 (1987), subject to the requirements of the Due Pro-
cess Clause, Weiss v. United States, 510 U.S. 163, 176-77
(1994) (noting that “Congress, of course, is subject to the
requirements of the Due Process Clause when legislating
in the area of military affairs, and that Clause provides
some measure of protection to defendants in military pro-
ceedings”). “[I]n determining what process is due, courts
must give particular deference to the determination of Con-
gress, made under its authority to regulate the land and
naval forces.” Weiss, 510 U.S. at 176-77 (citation omitted)
(internal quotation marks omitted); see Anderson, 83 M.J.
at 298 (“When Congress acts pursuant to its power to make
Rules for the Government and Regulation of the land and
naval Forces, judicial deference is at its apogee.” (citations
omitted) (internal quotation marks omitted)).
    “To succeed in a due process challenge to a statutory
court-martial procedure, an appellant must demonstrate
that the factors militating in favor of [a different proce-
dure] are so extraordinarily weighty as to overcome the bal-
ance struck by Congress.” Anderson, 83 M.J. at 298 (alter-
ation in original) (citation omitted) (internal quotation
marks omitted). In weighing the servicemember’s interests
in a procedural right against the needs of the military, the
Court must consider (1) historical practice with respect to
the procedure at issue, Weiss, 510 U.S. at 179, (2) the effect
of the asserted right on the military, Middendorf, 425 U.S.
at 45, and (3) the existence in current practice of other pro-
cedural safeguards that satisfy the Due Process Clause of
the Fifth Amendment, Weiss, 510 U.S. at 181.
    Accordingly, we consider each of these factors in turn to
decide whether the unrefusable military judge-alone spe-
cial court-martial created by Congress, as defined in



                              7
           United States v. Wheeler, No. 23-0140/NA
                     Opinion of the Court


Articles 16 and 19, UCMJ, and implemented by R.C.M.
201(f)(2), offends fundamental principles of justice in viola-
tion of Fifth Amendment due process.
                     1. Historical Practice
    The lower court succinctly summarized the long histor-
ical tradition of courts-martial by panels of members:
           For nearly 200 years, courts-martial in the
       United States military consisted solely of panels
       of members of varying numbers and types. This
       was true for general courts-martial as well as
       “lesser” courts-martial (the predecessor of our cur-
       rent special courts-martial). This requirement
       continued with the creation of the UCMJ in 1951.
       In 1968, Congress created military judges and, for
       the first time, authorized courts-martial without
       panel members—but only when an accused re-
       quested it.
Wheeler, 83 M.J. at 586 (footnotes omitted) (citing David A.
Schlueter, The Court-Martial: A Historical Survey, 87 Mil.
L. Rev. 129 (1980)). 3


   3 We note that alongside the tradition of courts-martial by
panel there exists an equally long tradition of disposition of mi-
nor offenses—both civilian and military—without a jury or a
panel. For example, the Government described military proceed-
ings dating as far back as 1775 in which a solitary officer could
in his sole discretion administer limited punishments for low-
level offenses. See, e.g., Wilkes v. Dinsman, 48 U.S. 89, 127
(1849) (“Where a private in the navy, therefore, is guilty of any
‘scandalous conduct,’ the commander is . . . authorized to inflict
on him twelve lashes, without the formality of a court-martial.”
(citing 2 Stat. 45-46 (1800)); George B. Davis, A Treatise on the
Military Law of the United States 25 (2d ed. 1899) (describing
the field officer’s court, created by Congress during the Civil
War, which was composed of a single officer); William Winthrop,
Military Law and Precedents 490 (2d ed. 1920) (noting that a
field officer’s court could impose up to one month of confinement
or hard labor and a fine of up to one month of pay). In the civilian
context, the Sixth Amendment right to trial by jury applies only
to serious offenses; any offense where the accused cannot possi-
bly be sentenced to more than six months of confinement is pre-
sumed to be a petty offense not subject to the Sixth Amendment




                                 8
           United States v. Wheeler, No. 23-0140/NA
                     Opinion of the Court


   Against that backdrop, we agree with the lower court
that “the possibility of a criminal conviction at an unrefus-
able proceeding without members is remarkable.” Id. at
587-88. Therefore, this factor weighs in favor of a due pro-
cess right to a panel in this case.
                   2. Effect on the Military
    The unrefusable military judge-alone special court-
martial was created to “improv[e] the efficiency of the mil-
itary justice system.” The MJRG recommended this new fo-
rum as a “more efficient and less burdensome” way for a
command to address low-level misconduct:
       The judge-alone special court-martial will provide
       the convening authority with a greater range of
       disposition options, which may prove particularly
       useful when addressing cases involving a request
       for court-martial arising out of a non-judicial pun-
       ishment or summary court-martial refusal, and in
       deployed environments where operational de-
       mands may make it difficult to assemble a panel
       to address cases involving minor misconduct.
MJRG Report at 222. The MJRG noted that the proposal
was “[c]onsistent with the constitutional authority to au-
thorize civilian non-jury trials without obtaining a defend-
ant’s consent in cases involving confinement for six months
or less.” Id. at 217.
   In Middendorf, the Supreme Court found that similar
considerations outweighed a servicemember’s claim to a
Fifth Amendment due process right to counsel in a sum-
mary court-martial, “an informal proceeding conducted by
a single commissioned officer” with limited authority to



jury clause. Blanton v. City of North Las Vegas, 489 U.S. 538,
543 (1989); see Callan v. Wilson, 127 U.S. 540, 555 (1888) (“con-
ceding that there is a class of petty or minor offenses . . . which,
if committed in this District, may, under the authority of con-
gress, be tried by the court and without a jury”); Schick v. United
States, 195 U.S. 65, 70 (1904) (noting that there is no constitu-
tional right to trial by jury for petty offenses).




                                 9
           United States v. Wheeler, No. 23-0140/NA
                     Opinion of the Court


adjudge punishments, 4 whose purpose “ ‘is to exercise jus-
tice promptly for relatively minor offenses under a simple
form of procedure.’ ” 425 U.S. at 32 (quoting MCM para.
79.a. (1969 ed.)). The Court found that requiring counsel to
be provided to servicemembers at summary courts-martial
would impose a “particular burden” on the military “be-
cause virtually all the participants, including the defend-
ant and his counsel, are members of the military whose
time may be better spent than in possibly protracted dis-
putes over the imposition of discipline.” Id. at 45-46.
    Although the summary court-martial discussed in Mid-
dendorf is not a criminal forum and does not result in a
criminal conviction, see Article 20(a), UCMJ, the Midden-
dorf analysis of the burdens that would accompany the pro-
posed process is equally applicable to the special court-
martial at issue in this case. Allowing a servicemember to
refuse a military judge-alone special court-martial in favor
of a proceeding before a panel of members would require
the detailing and voir dire of a prospective panel. This
would result in a longer proceeding requiring more service-
members to be pulled away from their regular duties in or-
der to serve as prospective and selected panelists in a case
involving offenses the command deemed minor. See Toth v.
Quarles, 350 U.S. 11, 17 (1955) (“[I]t is the primary busi-
ness of armies and navies to fight or be ready to fight wars
should the occasion arise. . . . To the extent that those re-
sponsible for performance of this primary function are di-
verted from it by the necessity of trying cases, the basic
fighting purpose of armies is not served.”). As a result, al-
lowing a servicemember to refuse a military judge-alone
special court-martial would burden the military by

   4 A summary court-martial may “adjudge any punishment

not forbidden by this chapter except death, dismissal, dishonor-
able or bad-conduct discharge, confinement for more than one
month, hard-labor without confinement for more than 45 days,
restriction to specified limits for more than two months, or for-
feiture of more than two-thirds of one month’s pay.” Article
20(a), UCMJ, 10 U.S.C. § 820(a) (2018).




                               10
          United States v. Wheeler, No. 23-0140/NA
                    Opinion of the Court


transforming a proceeding “which may be quickly convened
and rapidly concluded into an attenuated proceeding which
consumes the resources of the military to a degree which
Congress could properly have felt to be beyond what is war-
ranted by the relative insignificance of the offenses being
tried.” Middendorf, 425 U.S. at 45. We therefore conclude
that this factor weighs against finding a due process right
to a panel in this case.
                    3. Legal Safeguards
    Finally, we must determine whether there are adequate
procedural safeguards to ensure a servicemember receives
a fair trial before a military judge-alone special court-mar-
tial. Appellant contends that a multi-member panel is es-
sential to prevent a “miscarriage of justice that is risked by
trial before a sole fact-finder whose latent biases or limits
on interpreting evidence will never be mitigated by the per-
spectives of fellow fact-finding members.” We understand
Appellant’s concerns and recognize the potential benefits of
having multiple factfinders in a criminal case. See Ballew
v. Georgia, 435 U.S. 223, 232-38 (1978) (discussing these
potential benefits). However, we are not persuaded that
these potential benefits would increase the fairness of a
special court-martial so much that multiple factfinders are
constitutionally required. We reach this conclusion in part
because, even without multiple factfinders, several fea-
tures of the military justice system ensure the impartiality
of the military judge and the fairness of the trial.
    First, a qualified, independent military judge presides
over each military judge-alone special court-martial. Arti-
cle 26(a), (b), UCMJ, 10 U.S.C. § 826(a), (b) (2018). In Graf,
we concluded that the UCMJ provides substantial safe-
guards of a military judge’s independence. 35 M.J. at 463.
There, the appellant argued that the absence of a fixed
term of office for the military judges and appellate military
judges who presided over his case precluded their judicial
independence, in violation of the Due Process Clause of the
Fifth Amendment. Id. at 454. While we recognized that the
Fifth Amendment Due Process Clause applies to a service-
member at court-martial, id., we held that “other




                             11
           United States v. Wheeler, No. 23-0140/NA
                     Opinion of the Court


guarantees of independence provided for military trial
judges” in the UCMJ ensure “that court-martial judges can
independently and fairly perform their duties without pro-
tection of a fixed term of office.” Id. at 463. Specifically, we
noted that the UCMJ:
          •   “provides for an administrative method of
              complaint against interfering superiors
              within the uniformed service itself, which
              ultimately requires the attention of the ci-
              vilian secretary of that service,” id. (citing
              Article 138, UCMJ, 10 U.S.C. § 938);
          •   “provides for the preferral of charges and
              possible court-martial of any servicemem-
              ber, whatever his grade or rank, who influ-
              ences or attempts to influence a judge’s
              findings or sentencing decisions at courts-
              martial,” id. (citing Article 37, UCMJ, 10
              U.S.C. § 837); and
          •   “in extraordinary cases where the above
              remedies are not adequate, resort to this
              Court under the All Writs Act, 28 U.S.C.
              § 1651(a), is possible.” Id. (citing cases).
   Those same provisions ensure the impartiality of the
military judge in this case. 5
    Second, an accused facing a military judge-alone special
court-martial is entitled, at no cost to the accused, to de-
tailed military defense counsel, Article 27(a), UCMJ, 10
U.S.C. § 827(a) (2018), or, to the extent reasonably availa-
ble, to military defense counsel of the accused’s choosing,
Article 38(b)(3)(B), UCMJ, 10 U.S.C. § 838(b)(3)(B) (2018).
   Third, R.C.M. 201(f)(2)(E) limits the offenses that can
be referred to a military judge-alone special court-martial
while Article 19(b), UCMJ, and R.C.M. 201(f)(2)(B)(ii) limit
the punishments that can be adjudged, regardless of the
specific offenses or number of offenses tried. As a result,
Appellant’s potential legal exposure to confinement was

   5 We note that while the defense advocated for dismissal for
lack of jurisdiction, the defense did not challenge the military
judge’s impartiality in this case.




                               12
           United States v. Wheeler, No. 23-0140/NA
                     Opinion of the Court


statutorily constrained to preclude more than six months
of confinement or a punitive discharge. See Middendorf,
425 U.S. at 40 n.17 (noting that a servicemember forced to
face a summary court-martial that could only impose one
month of imprisonment for an offense that carried a ten-
year maximum “would no doubt be delighted at his good
fortune”).
   Fourth, despite the fact that Appellant did not have a
right of direct appeal to the NMCCA, Appellant’s convic-
tion was subject to post-trial review by a qualified judge
advocate, Article 65(d)(2), UCMJ, the Judge Advocate Gen-
eral, Article 69(a), UCMJ, and the NMCCA, Article 66(b),
UCMJ, to the same extent as any other general or special
court-martial resulting in the same sentence. 6 The exist-
ence of all of these procedural safeguards weighs against a
due process right to a panel in this case.
                   4. Weighing the Interests
    After weighing Appellant’s interests in a court-martial
before a panel against the needs of the military, and taking
into account historical practice with respect to courts-mar-
tial before panels, the effect of such a right on the military,
and the existence in current practice of other procedural
safeguards that satisfy the Due Process Clause of the Fifth
Amendment, we agree with the lower court’s conclusion
that the benefits of a multi-member panel are not so
weighty as to overcome the balance struck by Congress and
the President. See Wheeler, 83 M.J. at 591-92. Although we
conclude that historical tradition weighs in favor of finding
a due process right to a panel, historical tradition is not
dispositive of the question whether a proceeding violates
Fifth Amendment due process. Anderson, 83 M.J. at 299.

   6 Congress has now given an accused the right to appeal all
convictions by special or general courts-martial, regardless of
their punishments, to the Courts of Criminal Appeals. See Arti-
cle 66(b)(1), UCMJ, 10 U.S.C. § 866(b)(1) (Supp. V 2023) (grant-
ing jurisdiction over “a timely appeal from the judgment of a
court-martial, entered into the record . . . , that includes a find-
ing of guilty”).




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           United States v. Wheeler, No. 23-0140/NA
                     Opinion of the Court


As the Supreme Court noted in Solorio, there is nothing in
the Constitution that suggests that “court-martial usage at
a particular time [must be frozen] in such a way that Con-
gress might not change it.” 483 U.S. at 446. In determining
whether the historical tradition of courts-martial before
member panels gives rise to a right to a panel in this case,
“we must give particular deference” to Congress’s determi-
nation that an unrefusable military judge-alone special
court-martial promotes discipline in the armed forces and
enhances a commander’s ability to fairly and efficiently
deal with minor offenses. Middendorf, 425 U.S. at 43.
    Appellant “has the burden to demonstrate that Con-
gress’ determination should not be followed.” United States
v. Vazquez, 72 M.J. 13, 19 (C.A.A.F. 2013) (first citing
Weiss, 510 U.S. at 181; and then citing United States v.
Mitchell, 39 M.J. 131, 137 (C.M.A. 1994) (the appellant
bears a “ ‘heavy burden to show the Constitutional invalid-
ity of this facet of the military justice system’ ”)). Affording
due deference to Congress’s determination that the mili-
tary judge-alone special court-martial promotes fairness
and efficiency, we conclude that Appellant has not met his
burden. We therefore hold that the unrefusable military
judge-alone special court-martial where neither a punitive
discharge nor confinement of more than six months may be
adjudged does not run afoul of the Fifth Amendment Due
Process Clause.
     C. The Convening Authority’s Referral Decision
    The second granted issue asks about the convening au-
thority’s referral of this case to an unrefusable military
judge-alone special court-martial. According to Appellant,
sleeping on post is an objectively serious offense because it
is punishable by up to one year of confinement, forfeiture
of all pay and allowances, and a dishonorable discharge.
See Baldwin v. New York, 399 U.S. 66, 69 (1970) (holding
“that no offense can be deemed ‘petty’ for purposes of the
right to trial by jury where imprisonment for more than six
months is authorized”). He argues that the convening au-
thority’s referral decision violated his fundamental due




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                    Opinion of the Court


process right to have a serious offense tried by a panel of
members.
    We disagree. Congress created the military judge-alone
special court-martial pursuant to its constitutionally be-
stowed authority “[t]o make Rules for the Government and
Regulation of the land and naval Forces.” U.S. Const. art.
I, § 8, cl. 14. Then, Congress delegated to the President the
authority to promulgate regulations implementing the
changes to Articles 16 and 19. Article 16(c)(2)(A), UCMJ.
The Supreme Court “established long ago that Congress
must be permitted to delegate to others at least some au-
thority that it could exercise itself.” Loving v. United
States, 517 U.S. 748, 758 (1996). The delegation of author-
ity to determine whether a case shall be referred to a forum
that limits the maximum sentence that may be adjudged is
a proper exercise of Congress’s power to delegate “the au-
thority to make policies and rules that implement its stat-
utes.” Id. at 771.
    Pursuant to Congress’s delegation of power, the
President promulgated rules limiting the cases that a
convening authority may refer to a military judge-alone
special court-martial and further limiting the punishments
that may be adjudged therein. R.C.M. 201(f)(2)(B)(ii);
R.C.M. 201(f)(2)(E)(i). In Loving, the Supreme Court noted,
“ ‘The military constitutes a specialized community
governed by a separate discipline from that of the civilian,’
and the President can be entrusted to determine what
limitations and conditions on punishments are best suited
to preserve that special discipline.” 517 U.S. at 773(quoting Orloff v. Willoughby, 345 U.S. 83, 94 (1953)).
Therefore, the Court found “no fault” in Congress’s
delegation of power to the President to prescribe
aggravating factors that permit application of the statutory
death penalty in military capital cases. Id. at 772.
Additionally, the Court concluded that the President’s
promulgation of a Rule for Courts-Martial implementing
the statutory death penalty and narrowing the category of
death-eligible cases, “was well within the delegated
authority.” Id. at 774. Here, as in Loving, the President




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                    Opinion of the Court


acted within his delegated authority to prescribe rules
narrowing the category of cases that may be referred to a
military judge-alone special court-martial and limiting the
punishments that can be adjudged in that forum.
    The discretion to refer charges to the new forum was
appropriately vested in the convening authority, subject to
the limitations prescribed by Articles 16 and 19 and R.C.M.
201(f)(2)(B)(ii) and 201(f)(2)(E)(i). See United States v.
Nachtigal, 507 U.S. 1, 4 (1993) (Congress’s delegation of
power to the President is not “stripped of its ‘legislative’
character merely because the [convening authority] has fi-
nal authority to decide, within the limits given by Con-
gress, what the maximum prison sentence will be for a vi-
olation of a given regulation.”). “[T]he special character of
the military requires civilian authorities to accord military
commanders some flexibility in dealing with matters that
affect internal discipline and morale.” Brown v. Glines, 444
U.S. 348, 360 (1980). As we have observed:
          One of the hallmarks of the military justice
      system is the broad discretion vested in command-
      ers to choose the appropriate disposition of alleged
      offenses. The critical responsibility of command-
      ers for the morale, welfare, good order, discipline,
      and military effectiveness of their units tradition-
      ally has been viewed as requiring the exercise of
      such discretion.
          The discretionary disposition authority of
      commanders includes the power to take no action,
      dismiss charges, initiate administrative actions
      under applicable regulations, institute [nonjudi-
      cial punishment] proceedings under Article 15, re-
      fer the matter to a summary, special, or general
      court-martial, or forward it to a superior com-
      mander.
United States v. Gammons, 51 M.J. 169, 173 (C.A.A.F.
1999).
    The convening authority’s referral of this case to a mil-
itary judge-alone special court-martial was a proper exer-
cise of statutory authority. Article 16(c)(2)(A) provides that
a special court-martial may consist of a military judge




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           United States v. Wheeler, No. 23-0140/NA
                     Opinion of the Court


alone “if the case is so referred by the convening authority,
subject to [Article 19, UCMJ,] and such limitations as the
President may prescribe by regulation.” Article 16(c)(2)(A).
Here, the referral was consistent with the limitations im-
posed by Congress in Article 19, UCMJ (limiting the maxi-
mum punishments that may be adjudged), and with the ad-
ditional limitations imposed by the President in R.C.M.
201(f)(2)(B)(ii) (imposing an additional limitation on the
maximum permissible sentence), and R.C.M. 201(f)(2)(E)(i)
(barring referral to a military judge-alone special court-
martial if the accused objects and the maximum sentence
at a general court-martial would exceed two years of con-
finement, or if sex offender registration would be re-
quired). 7
                       IV. Conclusion
   We hold that Appellant had no Fifth Amendment due
process right to a trial before a panel of members where the
military judge-alone special court-martial forum limited
the maximum confinement that could be adjudged to six
months and precluded a punitive discharge. We also hold
that the convening authority’s forum selection in accord-
ance with Articles 16 and 19, UCMJ, and R.C.M. 201 did
not violate due process. Therefore, the decision of the
United States Navy-Marine Corps Court of Criminal Ap-
peals is affirmed.




   7 Although Appellant objected to the military judge-alone

special court-martial’s jurisdiction, he could not prevail where
the maximum confinement exposure he would have faced at a
general court-martial was one year of confinement, and a con-
viction would not subject him to sex offender registration.




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